                   Case 8:17-cv-01444-JLS-KES Document 40 Filed 10/16/18 Page 1 of 2 Page ID #:329




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                                                          UNITED STATES DISTRICT COURT
                     16
                                      CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
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                     18
                        Clear Creek Consulting, Inc., a                     CASE NO. 8:17-cv-01444-JLS (KES)
                     19 Colorado Corporation,
                                                                            JOINT NOTICE OF SETTLEMENT
                     20                      Plaintiff,
                                                                            The Hon. Josephine L. Staton
                     21             vs.
                                                                            Action Filed: Aug. 22, 2017
                     22 Optima Tax Relief, LLC., a Delaware                 Trial Date:   February 5, 2019
                        Limited Liability Company; and DOES
                     23 1-10,
                     24                      Defendant.
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BISGAARD                  4812-3543-3848.1
& SMITH LLP                                                    JOINT NOTICE OF SETTLEMENT
ATTORNEYS AT LAW
                   Case 8:17-cv-01444-JLS-KES Document 40 Filed 10/16/18 Page 2 of 2 Page ID #:330




                      1            Plaintiff Clear Creek Consulting, Inc. and Defendant Optima Tax Relief, LLC
                      2 (hereinafter, “the Parties”), jointly notify the court that a settlement has been
                      3 reached in the above-captioned case. The Parties, therefore, apply to this Honorable
                      4 Court to enter an order vacating all currently set proceedings with the expectation
                      5 that the Joint Stipulation for Dismissal with prejudice as to all parties will be filed
                      6 within 30 days of the entry of such an order.
                      7
                      8 DATED: October 16, 2018                DANIEL C. DECARLO
                                                               LEWIS BRISBOIS BISGAARD & SMITH             LLP
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                     10                                        By: /s/ Daniel C. DeCarlo
                                                                   Daniel C. DeCarlo
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                                                                   Attorneys for Plaintiff CLEAR CREEK
                     12                                            CONSULTING, INC.
                     13 DATED: October 16, 2018                STEVEN T. GEBELIN
                     14                                        SYVERSON, LESOWITZ, & GEBELIN LLP
                     15                                        By: /s/ Steven T. Gebelin
                     16                                            Steven T. Gebelin
                                                                   Attorney for Defendant OPTIMA TAX
                     17                                             RELIEF, LLC
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                        Pursuant to L.R. 5-4.3.4(a)(2)(i), the
                     19 filer attests that all other signatories
                     20 listed, and on whose behalf the filing
                        is submitted, concur in the filing’s
                     21 content and have authorized the filing.
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& SMITH LLP                                              JOINT NOTICE OF SETTLEMENT
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